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13                          UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14                                WESTERN DIVISION
15
   MOSAFER INC.; MOSAFER E-COM,                                   Civil Case No.:
16 INC.; AND GOMOSAFER
                                                                  2:21-cv-06320-MCS-JC
17
              Plaintiffs,
18
              v.                                                  MEMORANDUM OF POINTS AND
19                                                                AUTHORITIES IN SUPPORT OF
     ELLIOT BROIDY; GEORGE NADER;                                 COUNTERCLAIM-DEFENDANT
20
     BROIDY CAPITAL MANAGEMENT,                                   STATE OF QATAR’S MOTION TO
21   LLC; CIRCINUS, LLC; THE IRON                                 DISMISS COUNTERCLAIMS
     GROUP INC. D/B/A IRONISTIC.COM;                              PURSUANT TO RULES 12(b)(1)
22
     SCL SOCIAL LIMITED; PROJECT                                  AND 12(b)(2) OF THE FEDERAL
23   ASSOCIATES UK LTD; MATTHEW                                   RULES OF CIVIL PROCEDURE
24   ATKINSON; AND JOHN DOES 1-100,
                                                                  [Filed Concurrently with Notice of
25            Defendants.                                         Motion and Proposed Order]
26
   ELLIOT BROIDY; BROIDY CAPITAL                                  Hearing Date: January 24, 2022
27 MANAGEMENT, LLC; CIRCINUS, LLC,                                Time: 9:00 a.m.
                                                                  Courtroom: 7C
28

      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF COUNTERCLAIM-DEFENDANT STATE OF QATAR’S MOTION TO DISMISS
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 1            Counterclaim-Plaintiffs,                            Judge: Hon. Mark C. Scarsi
 2
              v.                                                  Complaint Filed: August 5, 2021
 3                                                                Counterclaims Filed: October 7, 2021
 4
     MOSAFER INC.; MOSAFER E-COM,
     INC.; GOMOSAFER, STATE OF QATAR,
 5   ABU ISSA HOLDING WLL, ASHRAF
 6
     ABU ISSA, NABIL ABU ISSA

 7            Counterclaim-Defendants.
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 1                                            INTRODUCTION
 2          Defendant Elliott Broidy has already litigated and lost his claims that the State of
 3   Qatar (“Qatar or “the State”) engaged in cyber-espionage against him, which the Ninth
 4   Circuit held are barred by the Foreign Sovereign Immunities Act (“FSIA”). Now,
 5   however, Broidy and his companies Broidy Capital Management, LLC (“BCM”) and
 6   Circinus, LLC (together, “Broidy”) seek to relitigate those claims, seizing on the filing
 7   of a lawsuit by unrelated private parties that has nothing to do with the alleged cyber-
 8   espionage that was the basis of the prior case. Broidy’s second attempt to subject Qatar
 9   to suit in U.S. court fares no better than his first. His invocation of the FSIA’s
10   counterclaim and waiver exceptions to immunity is entirely unprecedented, at odds with
11   the text of the FSIA, and contrary to Supreme Court precedent.
12         Broidy, who has twice pleaded guilty to felony charges, is a political operative
13   and influence peddler who has secretly lobbied the U.S. government on behalf of
14   various foreign governments, reportedly including the United Arab Emirates.
15   Beginning in March 2018, the Wall Street Journal, New York Times, and others
16   publicized various personal and professional scandals involving Broidy. He blamed
17   these disclosures on a purported cyberattack by Qatar and sued Qatar in this District,
18   alleging it orchestrated a scheme to hack his computers and disseminate private
19   materials. U.S. District Judge John Walter dismissed those claims, the Ninth Circuit
20   affirmed, and the Supreme Court denied certiorari.
21        This is a different case. It was not brought by Qatar, but by a private Qatari
22   business and two of its U.S. affiliates—Plaintiffs Mosafer Inc., Mosafer E-Com Inc.,
23   and GoMosafer (“Mosafer”)—seeking recovery for their own business losses. This
24   case does not concern the alleged cyberattack on Broidy, but rather an alleged
25   disinformation campaign by Broidy, which allegedly caused Mosafer to incur
26   substantial business losses. Broidy nonetheless seeks to capitalize on the lawsuit filed
27   against him by inserting Qatar into this action and filing counterclaims against it. His
28   basis for doing so is speculation that Mosafer acted as Qatar’s “proxy” in filing its
                                                          1
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF COUNTERCLAIM-DEFENDANT STATE OF QATAR’S MOTION TO DISMISS
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 1     Complaint, allegedly with Qatar’s “blessing” or possibly at its “behest.”
 2     Counterclaims, ¶¶ 3, 8, 25. Qatar emphatically denies the allegation that it is somehow
 3     behind Mosafer’s lawsuit, just as it continues to deny the underlying allegations.
 4     However, even taking Broidy’s allegations as true for purposes of this motion to
 5     dismiss, Qatar remains immune from the counterclaims pursuant to the FSIA.
 6           The FSIA reflects Congress’s judgment that, in order to respect the dignity and
 7   sovereignty of foreign states, and to ensure reciprocal protection for the United States
 8   abroad, foreign sovereigns are generally immune from the jurisdiction of U.S. courts.
 9   That immunity is subject only to a handful of narrowly drawn exceptions, and Broidy
10   carries the burden of establishing that one applies. The counterclaims fail to do so.
11           First, Broidy cannot invoke the FSIA’s counterclaim exception. That exception
12   applies to an “action brought by a foreign state,” and this action was brought by private
13   companies—not a “foreign state.” See 28 U.S.C. § 1607. The Supreme Court has held
14   that even a foreign official acting on behalf of a sovereign is not itself a “foreign state”
15   within the meaning of the FSIA, so Mosafer plainly cannot be a “foreign state,”
16   regardless of Broidy’s allegation that it acted at Qatar’s “behest.” Even if the
17   counterclaim exception could apply to a suit initiated by a private party, it would still
18   require Broidy’s counterclaims to arise from the same transaction or occurrence as the
19   original Complaint. But the actionable allegations in Mosafer’s claims (alleged
20   disinformation by Broidy) and Broidy’s counterclaims (alleged cyber-espionage by
21   Qatar) are distinct and separate.
22           Second, Broidy cannot invoke the FSIA’s waiver exception. See 28 U.S.C. §
23   1605(a)(1). Reliance on that exception fails at the outset, because Broidy’s counterclaims
24   are governed and foreclosed by two other FSIA exceptions—the counterclaim and
25   noncommercial tort exceptions—and a plaintiff cannot assert a generic waiver theory to
26   evade the limits Congress placed on those specific exceptions. Nor can Broidy establish
27   that Qatar has acted to waive immunity, as is required by the statutory text. Moreover,
28   the Ninth Circuit has consistently emphasized the narrowness of the implied waiver
                                                             2
        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF COUNTERCLAIM-DEFENDANT STATE OF QATAR’S MOTION TO DISMISS
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 1   exception, and Broidy’s unprecedented claims are unlike anything the Ninth Circuit or
 2   any other court has recognized as supporting an implied waiver of immunity.
 3            Because Broidy has failed to establish any statutory exception to Qatar’s
 4   presumptive immunity, the FSIA bars Broidy’s counterclaims. The Court should
 5   therefore dismiss the counterclaims against Qatar for lack of jurisdiction.1
 6                                                 BACKGROUND
 7            Mosafer filed this suit against a host of individuals and companies, including
 8   Broidy, claiming that it suffered financial losses because of defendants’ alleged
 9   “disinformation conspiracy” aimed at Qatar and Qatar-based businesses. Complaint,
10   ECF No. 1, ¶¶ 12–13, 21–29. Qatar was not a plaintiff, and has never sued Broidy.
11   Broidy nonetheless filed counterclaims and named Qatar as one of the counterclaim-
12   defendants. See Counterclaims of Defs. Elliott Broidy, Broidy Capital Management,
13   LLC, and Circinus, LLC, ECF No. 46. These counterclaims concern a different series of
14   transactions than the alleged Broidy-led “disinformation conspiracy” giving rise to
15   Mosafer’s claims. Specifically, the counterclaims allege that Qatar engaged in a “hack-
16   and-smear” campaign targeting Elliott Broidy, and separately gave Mosafer its “blessing”
17   to bring this suit. Id. ¶¶ 8, 166–230. Mosafer disputes Broidy’s allegations about its
18   relationship with Qatar. See Mosafer’s Mem. of P. & A. in Supp. of Mot. to Strike or
19   Dismiss, ECF No. 88-1, at 8 (disputing Broidy’s “unsubstantiated allegations that there
20   was a ‘close and personal business relationship’ between the Mosafer Parties and Qatar’s
21   ruling family” (quoting Counterclaims, ¶ 69)); Mosafer’s Opp’n to Broidy’s Mot. to
22   Strike or Dismiss, ECF No. 51, at 1 (stressing that Mosafer is “not controlled by Qatar”).
23

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       In order to bring these threshold jurisdictional issues to the Court expeditiously, Qatar
25   submits the instant Motion solely pursuant to Fed. R. Civ. P. 12(b)(1) and (b)(2).
     However, the counterclaims also fail to state a claim under Rule 12(b)(6), because most
26   of Broidy’s claims are time-barred; the factual allegations do not suffice to establish that
     Qatar bears any responsibility for the alleged hacking; and several of the causes of action
27   fail to adequately plead the required elements.
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         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF COUNTERCLAIM-DEFENDANT STATE OF QATAR’S MOTION TO DISMISS
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 1            A.      Broidy’s Prior Suit Against Qatar, Which Was Dismissed Under the
                      FSIA
 2
              These counterclaims represent Elliott Broidy’s second attempt to sue Qatar over
 3
     the same hacking claims, and his fifth lawsuit against various parties concerning the
 4
     alleged operation.2 In 2018, Elliott Broidy and BCM filed suit in this District, asserting
 5
     ten causes of action and naming Qatar as a defendant. See First Am. Compl., Broidy
 6
     Cap. Mgmt., LLC v. Qatar, No. 2:18-cv-02421, ECF No. 47 (C.D. Cal. filed May 24,
 7
     2018). The complaint asserted that beginning in late 2017, Qatar orchestrated a cyber-
 8
     espionage operation targeting Broidy, which involved hacking into BCM’s computer
 9
     network, obtaining copies of Broidy’s and BCM’s “private communications, emails,
10
     documents and intellectual property,” and disseminating those stolen materials to the
11
     media. Id. ¶¶ 93, 117–30.3 Qatar moved to dismiss the claims on the basis of its
12
     sovereign immunity, while strongly denying the merits of the allegations. Mem. of P. &
13
     A. in Supp. of Qatar’s Mot. to Dismiss, Broidy Cap. Mgmt., LLC v. Qatar, No. 2:18-cv-
14
     02421, ECF No. 112-1, at 7 (C.D. Cal. filed June 27, 2018).
15
              Judge Walter granted Qatar’s motion to dismiss for lack of jurisdiction, and
16
     dismissed the action as to Qatar without leave to amend. Broidy Cap. Mgmt., LLC v.
17

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     2
19     See Broidy Cap. Mgmt., LLC v. Qatar, No. 2:18-cv-02421, 2018 WL 6074570 (C.D.
     Cal. Aug. 8, 2018), aff’d, 982 F.3d 582 (9th Cir. 2020); Broidy Cap. Mgmt., LLC v.
20   Benomar, 7:18-cv-06615, ECF No. 56, at *1 (S.D.N.Y. Dec. 21, 2018), aff’d, 944 F.3d
     436 (2d Cir. 2019) (dismissing case on diplomatic immunity grounds); Broidy v. Glob.
21   Risk Advisors LLC, No. 1:19-cv-11861, 2021 WL 1225949, at *10 (S.D.N.Y. Mar. 31,
     2021) (dismissing case for failure to state a claim, with motion for leave to file second
22   amended complaint pending); Broidy Cap. Mgmt. LLC v. Muzin, No. 19-cv-0150, 2020
     WL 1536350, at *21 (D.D.C. Mar. 31, 2020), aff’d, 12 F.4th 789 (D.C. Cir. 2021)
23   (dismissing seven counts, with litigation proceeding as to the remaining six).
     3
       Specifically, the First Amended Complaint alleged causes of action for: “(1) violation of
24   the Computer Fraud and Abuse Act, 18 U.S.C. §§ 1030(a)(2)(C) and (a)(5); (2) violation
     of the California Comprehensive Computer Data Access and Fraud Act, California Penal
25   Code § 502; (3) receipt and possession of stolen property in violation of California Penal
     Code § 496; (4) invasion of privacy by intrusion upon seclusion; (5) conversion; (6)
26   violation of Stored Communications Act, 18 U.S.C. § 2701; (7) violation of Digital
     Millennium Copyright Act, 17 U.S.C. § 1201 et seq.; (8) violation of the California
27   Uniform Trade Secrets Act, California Civil Code § 3426 et seq.; (9) misappropriation of
     trade secrets in violation of the Trade Secrets Act, 18 U.S.C. § 1836 et seq.; and (10) civil
28   conspiracy.” Broidy Cap. Mgmt., LLC v. Qatar, 2018 WL 6074570, at *2.
                                                              4
         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF COUNTERCLAIM-DEFENDANT STATE OF QATAR’S MOTION TO DISMISS
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 1   Qatar, No. 2:18-cv-02421, 2018 WL 6074570, at *4, *11 (C.D. Cal. Aug. 8, 2018), aff’d,
 2   982 F.3d 582 (9th Cir. 2020); see also Order, Broidy Cap. Mgmt., LLC v. Qatar, No.
 3   2:18-cv-02421, ECF No. 37, at *2–3 (C.D. Cal. Apr. 4, 2018) (denying temporary
 4   restraining order and finding that Broidy failed to demonstrate that Qatar was
 5   “responsible for the unauthorized access of Plaintiffs’ email accounts” or “for
 6   disseminating the allegedly illegally-obtained emails and documents”). The Ninth
 7   Circuit affirmed, holding that the FSIA does not allow an exception to immunity for
 8   Broidy’s allegations of cyber-espionage, which whether true or not are “the sort of
 9   peculiarly sovereign conduct that all national governments (including our own) assert the
10   distinctive power to perform.” Broidy Cap. Mgmt., LLC v. Qatar, 982 F.3d 582, 590, 595
11   (9th Cir. 2020). The Supreme Court denied certiorari. 141 S. Ct. 2704 (2021).
12         B.     Mosafer’s Claims and Broidy’s Counterclaims
13           This case was filed in August 2021 by Mosafer, a “network of retail, e-commerce,
14   distribution, and travel companies” focused on Qatari tourism. Complaint, ¶ 4. Mosafer
15   sued Broidy and others, claiming that the defendants “engaged in a years-long, carefully
16   orchestrated Disinformation Conspiracy that targeted Qatar and Qatar-related
17   businesses.” Id. ¶ 90. The Complaint asserted five causes of action for defendants’
18   alleged campaign to disseminate “false and misleading information” about Qatar and
19   Qatar-related businesses, causing Mosafer to lose customers and revenue. Id. ¶¶ 7, 94–
20   97. The Complaint sought damages for Mosafer’s business losses, and an injunction to
21   stop the alleged ongoing harm to its business. Id. ¶¶ 105, 113, 121, 126, 131. The
22   Complaint did not discuss the alleged hack-and-smear conspiracy upon which Broidy’s
23   earlier lawsuit was based.
24           Despite the lack of any overlap between Mosafer’s Complaint and his prior action,
25   Broidy seized on this suit as an opportunity to relitigate a case he had lost once before.
26   Broidy’s counterclaims recycle his allegations of a cyber-espionage operation, namely:
27   that (i) Qatar hired a third party to hack into Broidy’s computer systems and email
28   accounts; (ii) this party “stole trade secrets . . . and other information” and shared them
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 1   with public relations (“PR”) firms; and (iii) these PR firms “leaked the documents to
 2   various media outlets.” Counterclaims, ¶ 37. Broidy’s allegations from that earlier suit
 3   underlie ten of the twelve counterclaims pleaded against Qatar here. Id. ¶¶ 235–382.4
 4            The remaining two counterclaims allege business conspiracy and abuse of process,
 5   and rest on Broidy’s speculation that Qatar induced Mosafer to file this suit as retaliation.
 6   Id. ¶¶ 235–53. Broidy supports this allegation with an opinion by Dr. Yleem D.S.
 7   Poblete, who in turn bases her opinion on criticisms of Qatar’s system of government.
 8   See, e.g., id. at Ex. 1, ¶¶ 2–3. On that basis, Broidy makes the equivocal allegation that
 9   Mosafer “at a minimum” received “the blessing” of the Emir of Qatar to bring this action,
10   and speculates that it is “more likely” that Mosafer “w[as] asked . . . to file the lawsuit.”
11   Id. ¶ 8 (internal quotation marks omitted) (citing Expert Opinion of Dr. Poblete,
12   Counterclaims, Ex. 1, ¶¶ 53–54). These same allegations also ground Broidy’s
13   invocation of the counterclaim and waiver exceptions to sovereign immunity under the
14   FSIA. According to Broidy, the filing of litigation in a U.S. court by a private company
15   can lead to an abrogation of a foreign sovereign’s immunity.
16            On October 18, 2021, Judge Walter declined a request to transfer this case as
17   related to Broidy’s original action. See Order Denying Transfer, ECF No. 50. Judge
18   Walter noted that the present case “involves different parties and different claims” than
19   the prior action. Id.
20
     4
21     These ten counterclaims allege the following causes of action that were also alleged in
     the previous Central District lawsuit: the Computer Fraud and Abuse Act, 18 U.S.C.
22   § 1030 (Count Four); the Comprehensive Computer Data Access and Fraud Act, Cal.
     Pen. Code § 502 (Count Five); receipt and possession of stolen property, Cal. Pen. Code
23   § 496 (Count Six); invasion of privacy by intrusion upon seclusion (Count Seven);
     conversion (Count Eight); the Stored Communications Act, 18 U.S.C. §§ 2701–12
24   (Count Nine); the Digital Millennium Copyright Act, 17 U.S.C. § 1201, et seq. (Count
     Ten); the California Uniform Trade Secrets Act, Cal. Civ. Code § 3426, et seq. (Count
25   Eleven); and the Defend Trade Secrets Act, 18 U.S.C. § 1836, et seq. (Count Twelve).
     Counterclaims, ¶¶ 304–82. Count Three is brought under the Racketeer Influenced and
26   Corrupt Organizations Act (“RICO”). While the prior action framed a similar claim as
     “civil conspiracy” rather than invoking RICO, the claims share common allegations of a
27   coordinated “hack-and-smear” campaign. The RICO claim here also alleges that Qatar
     asked the Mosafer plaintiffs to file the underlying Mosafer suit. See id. ¶¶ 253–303; First
28   Am. Compl., Broidy Cap. Mgmt., LLC v. Qatar, No. 2:18-cv-02421, ECF 47, ¶¶ 228–38.
                                                              6
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 1                                             LEGAL STANDARD
 2           Where a defendant challenges the legal sufficiency of jurisdictional allegations
 3   pursuant to Federal Rules of Civil Procedure 12(b)(1) and (2) under the FSIA, “the
 4   district court should take the plaintiff’s factual allegations as true and determine whether
 5   they bring the case within any of the exceptions to immunity invoked by the plaintiff.”
 6   Doe v. Holy See, 557 F.3d 1066, 1073 (9th Cir. 2009) (quoting Rong v. Liaoning
 7   Province Gov’t, 452 F.3d 883, 888 (D.C. Cir. 2006)). A litigant who sues a foreign state
 8   bears the burden of showing that one of the FSIA’s limited exceptions applies to that
 9   state. Meadows v. Dominican Republic, 817 F.2d 517, 522–23 (9th Cir. 1987). If this
10   burden is not met, the court lacks both subject matter and personal jurisdiction over the
11   foreign state. See 28 U.S.C. § 1330(a)–(b); Verlinden B.V. v. Cent. Bank of Nigeria, 461
12   U.S. 480, 485 n.5, 489 (1983).
13                                                  ARGUMENT
14           The FSIA provides “the sole basis” for acquiring jurisdiction over a foreign state in
15   federal or state court. Argentine Republic v. Amerada Hess Shipping Corp., 488 U.S.
16   428, 443 (1989); see also Fed. Republic of Germany v. Philipp, 141 S. Ct. 703, 709
17   (2021). The FSIA establishes a fundamental rule that foreign states are not subject to the
18   jurisdiction of United States courts unless a specific statutory exception to immunity
19   applies—a rule rooted in diplomatic and international sensitivities of the highest order.
20   See OBB Personenverkehr AG v. Sachs, 136 S. Ct. 390, 394 (2015) (citing Saudi Arabia
21   v. Nelson, 507 U.S. 349, 355 (1993)); Bolivarian Republic of Venezuela v. Helmerich &
22   Payne Int’l Drilling Co., 137 S. Ct. 1312, 1318–19 (2017); see also 28 U.S.C. § 1604.
23           The FSIA’s “default rule of immunity ‘reflects the absolute independence of every
24   sovereign authority,’” Broidy Cap. Mgmt., LLC, 982 F.3d at 589 (internal citation
25   omitted), and creates only “narrow exceptions,” Peterson v. Islamic Republic of Iran, 627
26   F.3d 1117, 1125 (9th Cir. 2010). See also Schermerhorn v. Israel, 876 F.3d 351, 358
27   (D.C. Cir. 2017) (FSIA exceptions are “discrete and limited”) (internal quotation marks
28   and citation omitted).
                                                             7
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 1             Here, the Court lacks both subject matter and personal jurisdiction as to the
 2   counterclaims against Qatar. Broidy’s invocation of the counterclaim (28 U.S.C. § 1607)
 3   and waiver (Id. § 1605(a)(1)) exceptions to immunity is without merit.
 4   I.        The Court Lacks Subject Matter Jurisdiction Because Qatar Is Immune.
 5             A.      The Counterclaim Exception Does Not Apply.
 6             Broidy’s invocation of the counterclaim exception fails for two independent
 7   reasons. First, this suit filed by private companies is not an “action brought by a foreign
 8   state,” as required by the exception. Second, even if the “action brought by a foreign
 9   state” requirement were met (it is not), the counterclaims do not meet any of the
10   exception’s further requirements, including that the counterclaims must arise out of the
11   same transaction or occurrence as the plaintiff’s claims.
12                     1.      This Is Not an “Action Brought by a Foreign State.”
13             The counterclaim exception provides that “[i]n any action brought by a foreign
14   state, or in which a foreign state intervenes, in a Court of the United States or of a State,
15   the foreign state shall not be accorded immunity with respect to any counterclaim”
16   meeting one of three further requirements. 28 U.S.C. § 1607 (emphasis added). Based
17   on the provision’s plain text, the counterclaim exception “ha[s] no application . . . where
18   the foreign state is not the plaintiff.” Wolf v. Fed. Republic of Germany, No. 93 C 7499,
19   1995 WL 263471, at *9 (N.D. Ill. May 1, 1995), aff’d, 95 F.3d 536 (7th Cir. 1996); see
20   also Khochinsky v. Republic of Poland, 1 F.4th 1, 10 (D.C. Cir. 2021) (“[T]he
21   counterclaim exception applies only when there is an ‘action brought by a foreign state,
22   or in which a foreign state intervenes,’ and when the ostensible ‘counterclaim’ is brought
23   ‘in’ that same action.”). “Until [the foreign sovereign] seeks to use the courts of this
24   country the rationale for allowing counterclaims does not come into play.” Alberti v.
25   Empresa Nicaraguense De La Carne, 705 F.2d 250, 254 (7th Cir. 1983). Here, the
26   counterclaim exception is inapplicable on its face, for the straightforward reason that no
27   “foreign state” “brought” or “intervene[d]” in this “action.”
28

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 1           Instead, private businesses—Mosafer Inc., Mosafer E-Com Inc., and GoMosafer—
 2   brought this lawsuit. The FSIA defines “foreign state” to mean “a political subdivision of
 3   a foreign state or an agency or instrumentality of a foreign state.” 28 U.S.C. § 1603
 4   (further defining an “agency or instrumentality” as an entity (1) with separate legal
 5   personhood; (2) that is an organ of a foreign state or political division, or which is
 6   majority-owned by such an entity; and (3) that is “neither a citizen of a State of the
 7   United States . . . nor created under the laws of any third country”). The counterclaims
 8   do not and could not allege that Mosafer is a political subdivision or agency or
 9   instrumentality of Qatar; rather, the counterclaims acknowledge that the Mosafer
10   plaintiffs are private entities, two of which are Delaware corporations. See
11   Counterclaims, ¶¶ 13–15.
12           Broidy nonetheless asserts that “the FSIA affords no protection to Qatar in this
13   action”—not because this is an “action brought by a foreign state,” but because Mosafer
14   is supposedly “acting at the behest of Qatar.” Counterclaims, ¶ 3 (emphasis added). That
15   theory cannot be reconciled with the Supreme Court’s interpretation of the phrase
16   “foreign state” under the FSIA. Rejecting attempts to give that term “a broad
17   construction,” the Court held that “foreign state” does not include “any thing or person
18   through which action is accomplished,” or even “an official acting on behalf of the
19   foreign state.” Samantar v. Yousuf, 560 U.S. 305, 315, 319 (2010). If foreign officials—
20   whose job is to act “at the behest” of foreign states—are not themselves foreign states
21   within the meaning of the FSIA, a private company allegedly acting at the behest of the
22   foreign state is plainly not a foreign state for purposes of the same statute. See also
23   WhatsApp Inc. v. NSO Grp. Techs. Ltd., 17 F.4th 930, 932–33, 940 (9th Cir. 2021)
24   (private company allegedly acting as an agent of a foreign state cannot “meet[] the
25   FSIA’s definition of ‘foreign state’”).
26           The FSIA’s statutory structure confirms that when Congress intended to address
27   those who act on a state’s behalf, it did so expressly. See 28 U.S.C. § 1605(a)(5)
28   (abrogating immunity for certain “tortious act[s] or omission[s] of [the] foreign state or of
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 1   any official or employee of that foreign state while acting within the scope of his office or
 2   employment”) (emphasis added); id. § 1605A(a)(1) (same for certain acts “engaged in by
 3   an official, employee, or agent of [the] foreign state while acting within the scope of his
 4   or her office, employment, or agency”) (emphasis added). The counterclaim exception,
 5   in contrast, refers only to actions “brought by a foreign state,” not to actions “brought by
 6   a foreign state or a foreign state’s employees, agents, proxies, or others acting on the
 7   foreign state’s behalf.”
 8            Qatar is not aware of a single case treating an action brought by a private entity as
 9   an “action brought by a foreign state” for purposes of the counterclaim exception.
10   Likewise unable to identify any such case, Broidy instead invokes a case about the
11   relationship between a foreign state (Cuba) and an instrumentality of that state (Banco
12   Para El Comercio Exterior de Cuba (“Bancec”)). See Counterclaims, ¶ 3 (citing First
13   Nat’l City Bank v. Banco Para El Comercio Exterior de Cuba (“Bancec”), 462 U.S. 611
14   (1983)). In Bancec, the Supreme Court recognized a presumption that “government
15   instrumentalities established as juridical entities distinct and independent from their
16   sovereign should normally be treated as such,” but concluded that the presumption could
17   be overcome (1) where a foreign state so “extensively control[s]” its instrumentality “that
18   a relationship of principal and agent is created,” or (2) when “equitable principles” weigh
19   in favor of treating the instrumentality as part of the state, because treating it as a separate
20   entity “would work fraud or injustice.” 462 U.S. at 626–29 (internal quotation marks and
21   citation omitted).
22           Broidy’s reliance on Bancec is misplaced. Bancec examined the limited
23   circumstances in which the separate juridical personalities of a foreign state and its
24   “government instrumentalities” could be disregarded. Id. at 628–34 (emphasis added).
25   But a government instrumentality is still a “foreign state” as defined by the FSIA. 28
26   U.S.C. § 1603(a). No court has extended Bancec to hold that a private entity, over which
27   the foreign state has no ownership interest, can be treated as “a foreign state” under the
28   FSIA. The question of whether an entity can be treated as a “foreign state” because it
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 1   allegedly acts “on behalf of a foreign state” is addressed not by Bancec, but by Samantar,
 2   which answered firmly in the negative. See supra at 9.
 3            Statutory text and Supreme Court precedent are reason enough to reject Broidy’s
 4   invocation of the counterclaim exception, but that conclusion is confirmed by the FSIA’s
 5   overarching purpose: respect for the “independence and dignity” of each foreign
 6   government, recognizing that the United States benefits from the reciprocal respect it
 7   receives in other countries. Helmerich & Payne, 137 S. Ct. at 1315 (internal quotation
 8   marks and citation omitted). In a normal application of the counterclaim exception,
 9   where a foreign state voluntarily appears in U.S. court, no sensitive inquiry into another
10   sovereign’s internal affairs is necessary to determine that the exception applies. But by
11   asking the Court to treat a private entity as the foreign state, Broidy seeks an
12   unprecedented judicial inquiry. This is clear from Broidy’s reliance on an opinion by Dr.
13   Poblete, who speculates that Mosafer either received Qatar’s “blessing” or was “asked”
14   to file the case, and bases this conclusion on “the nature and power structure of the Qatari
15   system.” Expert Opinion of Dr. Poblete, Counterclaims, Ex. 1, ¶¶ 53–54. To be clear,
16   Qatar denies that Mosafer is its “proxy” or that it filed this action “at the behest of Qatar.”
17   But bedrock principles of sovereignty are offended by the very notion that in order to
18   avoid being subjected to the jurisdiction of U.S. courts, a sovereign would first be
19   required to defend “the nature and power structure” of its political system.5
20            Thus, Broidy’s reliance on Bancec to enlarge the counterclaim exception should be
21   rejected, but even assuming Bancec could be extended, there would still be no basis to
22   treat Mosafer and Qatar as one and the same. By its terms, Bancec applies only (1)
23   where a foreign state so “extensively control[s]” its instrumentality “that a relationship of
24

25
     5
       Broidy’s expansive view of the counterclaim exception would thus have sweeping
26   consequences far beyond this case, allowing litigants to freely allege that a plaintiff is a
     sovereign’s “proxy” and forcing sovereigns to litigate that question. For example, when
27   Elliott Broidy and BCM initially sued Qatar and several other persons in 2018, any one of
     the defendants in that suit could have filed counterclaims against the United Arab
28   Emirates, on the theory that Elliott Broidy was an agent and proxy of that state.
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 1   principal and agent is created,” or (2) when “equitable principles” weigh in favor of
 2   treating the instrumentality as part of the state to avoid “fraud or injustice.” Bancec, 462
 3   U.S. at 629–31. Here, neither precondition exists. First, the counterclaims do not allege
 4   that Qatar so “extensively controls” Mosafer “that a relationship of principal and agent
 5   [has been] created.” Id. at 629. Broidy does not attempt to allege that Qatar has “day-to-
 6   day, routine involvement . . . in the affairs of” Mosafer, as is required to show extensive
 7   control. Holy See, 557 F.3d at 1079–80; see also Flatow v. Islamic Republic of Iran, 308
 8   F.3d 1065, 1069–74 (9th Cir. 2002) (finding that Iran’s supervision over Bank Saderat, a
 9   state-owned entity, through various government agencies could not constitute “extensive
10   control” under Bancec). Broidy’s allegations that Mosafer filed one lawsuit at Qatar’s
11   “behest” does not satisfy the Bancec requirement of extensive day-to-day control.
12           Second, Broidy has not pointed to “equitable principles” that support treating
13   Mosafer as Qatar. Bancec, 462 U.S. at 629. Bancec concerned a foreign state’s abuse of
14   the corporate form: Cuba dissolved Bancec and became the “real beneficiary” of
15   Bancec’s claims in U.S. court, but then sought to “escape liability for its acts in violation
16   of international law simply by retransferring [Bancec’s] assets to separate juridical
17   entities.” Id. at 632–33. The Court was concerned that upholding Bancec’s separate
18   personality in these circumstances “would permit governments to avoid the requirements
19   of international law simply by creating juridical entities whenever the need arises.” Id. at
20   633; see also Comm’ns Imp. Exp. S.A. v. Congo, No. 5:16-cv-00656, 2016 WL 9281947,
21   at *4 (C.D. Cal. Apr. 21, 2016) (“Plaintiff must show that [the state] abused the corporate
22   form or [the instrumentality’s] corporate status works a fraud.”). Here, in contrast, there
23   is no allegation that Qatar abused the corporate form by creating a separate legal entity to
24   shield itself. The Mosafer companies are private entities that began operations many
25   years before this case and seek to recover for their own economic losses. See Complaint,
26   ¶¶ 104, 112, 120, 125, 130 (alleging “severe harm” to Mosafer, including “loss of sales
27   and goodwill”).
28

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 1           But in any event, the Court should not accept Broidy’s invitation to stretch Bancec
 2   for the unprecedented purpose of applying the counterclaim exception to a lawsuit filed
 3   by a private entity. The counterclaim exception applies only to an “action brought by a
 4   foreign state,” Mosafer is not a foreign state, and that should be the end of the analysis.
 5                   2.      Broidy’s Counterclaims Do Not Meet the Additional
                             Requirements of the Counterclaim Exception.
 6
             Where an action is actually brought by a foreign state (unlike here), the
 7
     counterclaim exception does not apply unless one of three showings is made. Broidy
 8
     cannot meet this additional requirement because (1) Qatar is otherwise immune from the
 9
     counterclaims; (2) the counterclaims do not arise out of the transaction or occurrence that
10
     is the subject matter of Mosafer’s claim; and (3) the counterclaims do not seek a setoff.
11
                             a)      Qatar Is Immune from Broidy’s Counterclaims.
12
             Subsection (a) of the counterclaim exception permits counterclaims “for which a
13
     foreign state would not be entitled to immunity under section 1605 or 1605A of this
14
     chapter had such claim been brought in a separate action against the foreign state.” 28
15
     U.S.C. § 1607(a). There is no question that no other exception to immunity applies to
16
     Broidy’s claims of hacking and dissemination of private materials—the Ninth Circuit has
17
     already said so. See Broidy Cap. Mgmt., LLC v. Qatar, 982 F.3d at 586, 596.
18
             Neither does any FSIA exception apply to Broidy’s counterclaims that were not
19
     included in his earlier suit: business conspiracy (Count One), abuse of process (Count
20
     Two), and the small portion of his RICO claim that does not relate to the alleged hacking.
21
     All of these claims are based on the filing of this lawsuit, which Broidy alleges was
22
     tortious. See Counterclaims, ¶¶ 235–52, 261, 301. Broidy does not invoke any FSIA
23
     exception that he contends might apply to these claims (apart from the waiver exception,
24
     which is addressed below). Nor could he, as the FSIA expressly preserves immunity for
25
     claims of “abuse of process,” “malicious prosecution,” and “interference with contract
26
     rights.” 28 U.S.C. § 1605(a)(5)(B); see also Counterclaims, ¶¶ 247–52 (alleging “abuse
27
     of process”); id. ¶¶ 241–43 (alleging Qatar agreed to file lawsuit to harm Circinus and
28

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 1   seeks to compel Circinus “to disgorge substantial monies earned from various
 2   government contracts”); Blaxland v. Commonwealth Dir. of Pub. Prosecutions, 323 F.3d
 3   1198, 1203–06 (9th Cir. 2003) (concluding that a claim labeled false imprisonment was
 4   really a claim for abuse of process and malicious prosecution, and accordingly finding
 5   Australia immune from suit).
 6                           b)      The Counterclaims Do Not Arise Out of the Transaction or
                                     Occurrence That Is the Subject Matter of the Claim.
 7
             Subsection (b) permits counterclaims that “aris[e] out of the transaction or
 8
     occurrence that is the subject matter of the claim of the foreign state.” 28 U.S.C.
 9
     § 1607(b). As an initial matter, the text of subsection (b)—which refers to the “claim of
10
     the foreign state”—makes little sense under Broidy’s theory, as no “foreign state” has
11
     made a “claim” in this case. Setting that issue aside, however, Broidy’s counterclaims do
12
     not arise out of the transaction or occurrence that is the subject matter of Mosafer’s claim.
13
     Broidy’s counterclaims lack a “logical relationship” with Mosafer’s claims, as required
14
     by subsection (b). Cabiri v. Gov’t of Republic of Ghana, 165 F.3d 193, 197 (2d Cir.
15
     1999) (quoting Moore v. N.Y. Cotton Exchange, 270 U.S. 593, 610 (1926)); see also In re
16
     Lazar, 237 F.3d 967, 979 (9th Cir. 2001) (holding, in context of Fed. R. Civ. P. 13(a),
17
     that there must be a “logical relationship” between claims and counterclaims).
18
             The Second Circuit in Cabiri explained that the counterclaim exception does not
19
     apply where “the essential facts of the various claims” in a case are not “so logically
20
     connected that considerations of judicial economy and fairness dictate that all the issues
21
     be resolved in one lawsuit.” Cabiri, 165 F.3d at 197 (quoting United States v. Aquavella,
22
     615 F.2d 12, 22 (2d Cir. 1979)); see also Pochiro v. Prudential Ins. Co. of Am., 827 F.2d
23
     1246, 1249 (9th Cir. 1987) (similar analysis under Rule 13(a)). Put another way, when
24
     “the evidence required to establish” the claim and the counterclaim do not overlap, the
25
     counterclaim exception cannot be invoked. Cabiri, 165 F.3d at 198–99. In Cabiri,
26
     Ghana terminated Cabiri from his position as its trade representative, and on that basis
27
     instituted an action to evict him from his state-owned home. Id. The court held that
28

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 1   Cabiri’s breach of contract claim arose from the same transaction or occurrence as
 2   Ghana’s eviction claim, because the “core issue in both claims” was “whether Cabiri’s
 3   employment was lawfully terminated.” Id. at 198. In contrast, Cabiri’s tort claims were
 4   not within the same transaction or occurrence, and thus outside the scope of the
 5   exception, because “the evidence required to establish them” did “not concern whether
 6   the contract was lawfully performed or terminated.” Id. at 198–99; compare Lord Day &
 7   Lord v. Socialist Republic of Vietnam, 134 F. Supp. 2d 549, 557 (S.D.N.Y. 2001) (claims
 8   were sufficiently related because they arise out of the same “ship accident”).
 9           Here, “the evidence required to establish” Mosafer’s claims and Broidy’s
10   counterclaims does not overlap. Mosafer alleges that Broidy and others harmed its
11   business through a campaign to influence the United States people to believe that Qatar
12   harbors and supports terrorists, and it seeks to prove that Broidy spread lies and
13   misinformation in the United States to cause that harm. See Complaint, ¶¶ 1–12. Broidy,
14   on the other hand, seeks to prove that Qatar and its agents hacked Elliott Broidy and
15   disseminated his private documents through a phishing scheme. See Counterclaims,
16   ¶¶ 166–230. Apart from the fact that both sets of claims involve Qatar and Broidy, they
17   have nothing to do with each other—“the evidence required to establish” the claims are
18   completely different. Cabiri, 165 F.3d at 198. Indeed, Judge Walter has already
19   recognized that the two cases involve “different claims” and are unrelated. See Order
20   Denying Transfer of Related Cases, ECF No. 50.
21           Broidy’s counterclaims that relate to the filing of this lawsuit likewise do not arise
22   out of the same transaction or occurrence as Mosafer’s claims. The “subject matter” of
23   Mosafer’s claims is as described above—economic injury caused by an alleged influence
24   campaign that spread disinformation about Qatar. See Complaint, ¶¶ 1–12. The subject
25   matter is not the fact that Mosafer brought its lawsuit. In Great Socialist People’s Libyan
26   Arab Jamahiriya v. Miski, the D.C. District Court examined whether the defendant’s
27   counterclaim for abuse of process arose out of the same transaction or occurrence as
28   Libya’s complaint alleging violations of trademark rights. See 683 F. Supp. 2d 1, 9
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 1   (D.D.C. 2010). The court found that it did not, because it sought “relief stemming from
 2   [Libya’s] initiation of the lawsuit itself,” and thus did not “aris[e] from the transactions
 3   and occurrences specified in [Libya’s] complaint.” Just as in Miski, Broidy’s claims of
 4   misconduct related to the filing of this suit do not fall within section 1607(b), because
 5   they do not arise out of the same transaction or occurrence that is the subject matter of
 6   Mosafer’s claim.
 7                           c)      The Counterclaims Do Not Seek a Setoff.
 8           Subsection (c) permits a counterclaim “to the extent that [it] does not seek relief
 9   exceeding in amount or differing in kind from that sought by the foreign state.” Here
10   again, the text of the FSIA underscores Broidy’s strained reading of the statute, as
11   Qatar—the “foreign state”—has not sought any relief in this case, and Mosafer has
12   sought damages for alleged losses to its own businesses. In any event, this subsection,
13   which was intended to apply to “setoff[s],” Reino de Espana v. Am. Bureau of Shipping,
14   Inc., 328 F. Supp. 2d 489, 495 (S.D.N.Y. 2004), decision clarified on recons., No. 03-cv-
15   3573, 2006 WL 2034632 (S.D.N.Y. July 14, 2006) (citing H.R. Rep. 94-1487, at 6622),
16   does not apply in this case, as Broidy’s counterclaims do not seek a setoff.
17                   3.      If the Court Grants Broidy’s Motion to Strike, the Counterclaim
                             Exception Could Not Apply.
18
             Finally, while Qatar takes no position on Broidy’s pending motion to strike the
19
     Complaint, if that motion were granted, that would be an additional independent reason
20
     why the counterclaim exception could not apply. See generally Broidy Defendants’
21
     Notice of Motion to Strike or, Alternatively, to Dismiss Complaint, ECF No. 44. A
22
     stricken complaint is a nullity and has no legal effect. See Woide v. Ramsey & Assocs.
23
     Mortg. Co., No. 616-cv-1781, 2017 WL 5479699, at *1 (M.D. Fla. Mar. 1, 2017); see
24
     also Perez v. Del Monte Fresh Produce N.A., Inc., No. 3:11-cv-1243, 2012 WL 2872398,
25
     at *11 (D. Or. Apr. 18, 2012), R. & R. adopted, No. 3:11-cv-01243, 2012 WL 2872317
26
     (D. Or. July 12, 2012) (“The Third Amended Complaint is a nullity, of no legal
27
     consequence, and should be stricken.”). If Broidy’s motion to strike results in the
28

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 1   Complaint being a nullity, there would be no “action brought” or “intervene[d]” in to
 2   trigger the exception. 28 U.S.C. § 1607.
 3          B.     The Waiver Exception Does Not Apply.
 4            Broidy’s reliance on the waiver exception is also unavailing. First, he cannot

 5   invoke that exception to bypass the immunity exceptions that specifically govern the

 6   allegations here—the counterclaim and noncommercial tort exceptions—and which do

 7   not permit jurisdiction. Second, he does not allege that a “foreign state” has taken action

 8   to waive immunity, as is required by the statutory text. Third, the conduct he alleges

 9   does not fall within the limited types of actions that the Ninth Circuit has found may give

10   rise to a waiver of immunity.

11                    1.      The Waiver Exception Cannot Be Used to Circumvent
                              Limitations on Other FSIA Exceptions.
12
              A threshold defect in Broidy’s waiver theory is that the FSIA’s waiver exception
13
     cannot be used to evade the limits Congress placed on other relevant exceptions to
14
     immunity. Courts, including the Ninth Circuit, have refused to find an implied waiver
15
     based on alleged conduct that is more properly considered under the noncommercial tort
16
     exception and the counterclaim exception. These cases foreclose Broidy’s invocation of
17
     the implied waiver exception here.
18
                              a)      Broidy’s Claims Concerning the Filing of This Lawsuit Are
19
                                      Governed by the Noncommercial Tort Exception and
20                                    Cannot Be the Basis for Implied Waiver.
21            Broidy’s invocation of the implied waiver exception for claims that seek to hold
22   Qatar liable for the filing of this lawsuit is foreclosed by Blaxland, 323 F.3d 1198. There,
23   the plaintiff filed malicious prosecution and abuse of process claims against Australia for
24   fraudulently instigating extradition proceedings in the United States. Id. at 1201–02.6
25   Such claims do not fall within the FSIA’s noncommercial tort exception, which expressly
26
     6
      The plaintiff also pled false imprisonment, but the court treated that claim as in reality
27   an abuse of process claim, because the court “look[s] beyond [the complaint’s]
     characterization to the conduct on which the claim is based.” Id. at 1203 (quoting Mt.
28   Homes, Inc. v. United States, 912 F.2d 352, 356 (9th Cir. 1990)).
                                                             17
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 1   preserves immunity for malicious prosecution and abuse of process claims. 28 U.S.C.
 2   § 1605(a)(5)(B). The plaintiff sought to circumvent that limitation by arguing that the
 3   same conduct—the fraudulent initiation of extradition proceedings—constituted an
 4   “implied waiver.” Blaxland, 323 F.3d at 1203, 1206. The Ninth Circuit rejected this
 5   attempted workaround, in part because it would nullify the noncommercial tort
 6   exception’s carveout: “[t]here cannot be implied waiver of sovereign immunity, for
 7   purposes of claims that malicious prosecution and abuse of process occurred in this
 8   country, solely through tortious conduct limited to the very activities that constitute those
 9   torts, as any other conclusion would void the operation of [28 U.S.C.] § 1605(a)(5)(B).”
10   Id. at 1209.
11           Broidy’s business conspiracy, abuse of process, and part of his RICO claim are
12   directly governed by Blaxland. However Broidy has styled those claims, they all
13   complain of Qatar’s alleged role in “fil[ing] this lawsuit.” Counterclaims, ¶¶ 241–43,
14   248, 261. Those claims therefore sound in malicious prosecution and abuse of process.
15   Blaxland, 323 F.3d at 1206 (holding that the plaintiff could not “overcome sovereign
16   immunity for claims of malicious prosecution and abuse of process by calling them a
17   different name”). Congress expressly preserved immunity over such claims in
18   section 1605(a)(5)(B), and as Blaxland held, allowing those actions to be deemed an
19   “implied waiver” of immunity would nullify Congress’s decision.
20                           b)      All of Broidy’s Claims Are Governed by the Counterclaim
                                     Exception and Cannot Be the Basis for Implied Waiver.
21
             As for Broidy’s other claims, the governing FSIA exception is the counterclaim
22
     exception, not the waiver exception. Just as the waiver exception cannot override the
23
     limitations Congress placed on the noncommercial tort exception, see Blaxland, 323 F.3d
24
     at 1206, the waiver exception also cannot override the limitations Congress placed on the
25
     counterclaim exception. The counterclaim exception reflects Congress’s judgment as to
26
     whether and to what extent the initiation of litigation in the United States abrogates a
27
     sovereign’s immunity. As discussed above, it places two important limits on the removal
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 1   of immunity: (1) the “foreign state” must bring or intervene in the case, and (2) the
 2   counterclaim must arise from the same transaction or occurrence. See supra Section I.A.
 3           Thus, in the Cabiri case, the Second Circuit held that “[t]o allow plaintiffs to
 4   establish waiver on the basis of a connection between Ghana’s eviction proceeding and
 5   causes of action that do not come within the counterclaim exception would in effect
 6   broaden the application of the counterclaim exception beyond the parameters intended by
 7   Congress.” 165 F.3d at 203. The Ninth Circuit has similarly rejected the argument that a
 8   sovereign’s filing of a complaint was a “general waiver” of immunity for counterclaims,
 9   instead remanding the case for an analysis of whether the counterclaim exception applied.
10   See Corporacion Mexicana de Servicios Maritimos, S.A. de C.V. v. M/T Respect, 89 F.3d
11   650, 656 (9th Cir. 1996). The court held that the counterclaim exception was
12   determinative absent evidence that the sovereign intended to effect a general waiver. Id.
13           There is no allegation here that Qatar intended to waive its immunity; to the
14   contrary, it has vigorously defended its immunity in this District and the Ninth Circuit.
15   See Broidy Cap. Mgmt., LLC, 2018 WL 6074570, at *4, *11; Broidy Cap. Mgmt., LLC,
16   982 F.3d at 590. The question of whether Mosafer’s filing of a lawsuit abrogates Qatar’s
17   sovereign immunity is addressed by the counterclaim exception, and as explained above,
18   Broidy’s claims do not fall within that exception. Broidy cannot claim an implied waiver
19   in order to “broaden the application of the counterclaim exception beyond the parameters
20   intended by Congress.” Cabiri, 165 F.3d at 203.
21                   2.      There Has Been No Action by a “Foreign State.”
22           Broidy’s invocation of the waiver exception also fails because, like the
23   counterclaim exception, the waiver exception can only be triggered by action of a
24   “foreign state”: it applies to cases “in which the foreign state has waived its immunity
25   either explicitly or by implication.” 28 U.S.C. § 1605(a)(1) (emphasis added).
26   Accordingly, the Ninth Circuit has applied this exception only where a “foreign state,” as
27   defined by the FSIA, has acted in a way that effects a waiver. See Farhang v. Indian Inst.
28   of Tech., 655 F. App’x 569, 570 (9th Cir. 2016) (waiver where a public Indian university
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 1   entered into an agreement which stated that U.S. law would apply); Siderman de Blake v.
 2   Republic of Argentina, 965 F.2d 699, 722–23 (9th Cir. 1992) (waiver where Argentina
 3   submitted a letter rogatory to a U.S. court); Joseph v. Office of the Consulate Gen. of
 4   Nigeria, 830 F.2d 1018, 1020, 1023 (9th Cir. 1987) (waiver where the Consulate General
 5   of Nigeria executed a lease that “contemplate[d] participation of the United States
 6   courts”; also relying on the commercial activity and tortious activity exceptions to find
 7   jurisdiction).
 8           Even when an instrumentality of a foreign state waives immunity, the Ninth Circuit
 9   has held that the waiver does not extend to unrelated instrumentalities of the same
10   sovereign, absent a showing of fraud. Chuidian v. Philippine Nat’l Bank, 912 F.2d 1095,
11   1103–04 (9th Cir. 1990), abrogated on other grounds by Samantar, 560 U.S. 305; see
12   also id. at 1104 (“[S]uch a cavalier disregard for the separate juridical existence of
13   foreign instrumentalities is unwarranted and contrary to existing law and policy.”). There
14   is no support for Broidy’s apparent theory that private companies, by filing a lawsuit, can
15   be deemed to have waived immunity on behalf of a foreign sovereign. Counterclaims,
16   ¶ 8. If it were true that Mosafer sought Qatar’s “blessing” before filing their lawsuit, or
17   even if Qatar “asked” Mosafer to file the suit as Broidy speculates, id., that would not
18   mean that Mosafer can be treated as the “foreign state.” See supra, Section I.A.1. Action
19   taken by a non-state is not a situation where “the foreign state has waived its immunity.”
20                   3.      Broidy’s Allegations Do Not Support Any Recognized Application
                             of the Implied Waiver Exception.
21
             Broidy’s waiver theory fails for the independent reason that it exceeds the narrow
22
     bounds the Ninth Circuit has placed on what actions impliedly waive sovereign
23
     immunity. “The waiver exception is narrowly construed.” Joseph, 830 F.2d at 1022.
24
     Broidy could not, and does not appear to, contend that Qatar expressly waived its
25
     immunity. See Barapind v. Gov’t of Republic of India, 844 F.3d 824, 830 n.2 (9th Cir.
26
     2016) (a sovereign “explicitly” waives immunity only through a “clear, complete,
27
     unambiguous, and unmistakable manifestation of . . . [its] intent to waive”) (internal
28

                                                            20
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 1   quotation marks and citation omitted). “Implicit” waivers are rare, and “ordinarily found
 2   only where: ‘(1) a foreign state has agreed to arbitration in another country; (2) a foreign
 3   state has agreed that a contract is governed by the law of a particular country; [or] (3) a
 4   foreign state has filed a responsive pleading in a case without raising the defense of
 5   sovereign immunity.’” Joseph, 830 F.2d at 1022; see also Ivanenko v. Yanukovich, 995
 6   F.3d 232, 239–40 (D.C. Cir. 2021) (stating that implicit waiver may occur “in only
 7   [these] three circumstances”). Broidy does not allege that Qatar has taken any of these
 8   three actions.
 9            Only in one instance has the Ninth Circuit held that an action outside of these three
10   examples could establish implicit waiver. In Siderman, the Ninth Circuit held that
11   Argentina might have implicitly waived immunity when it allegedly
12   “invo[ked] . . . United States judicial authority” to further an alleged years-long “effort[]
13   to torture and persecute [the plaintiff].” 965 F.2d at 722. Argentina had initiated a
14   criminal action in its own courts against one of the plaintiffs and requested the assistance
15   of the Los Angeles Superior Court (through a Letter Rogatory) to serve him in the United
16   States. Id. at 702–03. The plaintiff alleged this was a sham prosecution intended to
17   obtain his return to Argentina so that the military could torture him. Id. at 722 & n.19.
18   The court held that, on remand, the district court could conclude that Argentina implicitly
19   waived immunity if it found there was a “direct connection between the sovereign’s
20   activities in [U.S.] courts and the plaintiffs[’] claims for relief,” which were based on an
21   alleged pattern of torture and persecution. The court cautioned, however, that it was “not
22   suggest[ing] that . . . any foreign sovereign which takes action against a private party in
23   our courts necessarily opens the way to all manner of suit by that party.” Id.
24            Siderman’s approach to the waiver exception has been criticized,7 but more
25   importantly, the Ninth Circuit has carefully circumscribed its holding, and in the 29 years
26
     7
27    See Cabiri, 165 F.3d at 202 (“Siderman itself relies on largely inapt citation to cases in
     which the issue was whether treaties or written agreements entered into by foreign
28

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 1   since it was decided, the Ninth Circuit has never applied Siderman to find a waiver of
 2   immunity. Thus, in Blaxland, the Ninth Circuit held that Siderman could not be extended
 3   to find waiver based on allegations that Australia induced the U.S. Government to
 4   commence extradition proceedings against the plaintiff using fraudulent affidavits. 323
 5   F.3d at 1201. While the U.S. Government conducts extradition procedures “on behalf of
 6   the foreign sovereign,” the court explained that, unlike in Siderman, Australia had not
 7   “directly contact[ed],” “direct[ly] engag[ed],” or made a “direct request” of, a U.S. court.
 8   Id. at 1206–07.
 9           The Ninth Circuit also limited Siderman’s holding in In re Estate of Ferdinand
10   Marcos Human Rights Litigation, 94 F.3d 539 (9th Cir. 1996). There, the court held that
11   the Philippines did not waive immunity when it filed an amicus brief in support of
12   plaintiffs suing the Estate of deposed Philippine President Ferdinand Marcos based on
13   allegations of torture by his government. Id. at 547. Plaintiffs later sought to modify an
14   injunction freezing the Estate’s assets to include the Philippines, but the Ninth Circuit
15   held that because the Philippines’ amicus brief concerned only whether the suit should
16   proceed, it was disconnected from plaintiffs’ recovery of damages, and could not serve as
17   a basis for waiver. Id. at 547. The court also held that the Philippines did not waive
18   immunity when it separately sued the Estate in U.S. court to recover misappropriated
19   assets. Id. at 542, 547. The court held there was no “direct connection between
20   [plaintiffs’] action for human rights abuses and the Republic’s pursuit of its assets.” Id.
21   at 547.
22           These controlling cases preclude Broidy’s invocation of the waiver exception here.
23   To the extent that Broidy is arguing that there was a waiver of immunity based on
24   Mosafer’s filing of this lawsuit, it is clear that Qatar did not “directly contact,” “direct[ly]
25

26
     sovereigns contemplated the adjudication of disputes by courts in the United States. The
27   implicit theory of Siderman is new and dubious, and seems to be that a foreign state
     forfeits immunity with respect to matters related to a scheme of persecution if it advances
28   that scheme by bringing suit in the United States.” (citation omitted)).
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 1   engage,” or make any “direct request” whatsoever of, a U.S. court. See Blaxland, 323
 2   F.3d at 1206–07. Instead, Broidy alleges that private entities sued him, and that Qatar
 3   indirectly engaged a U.S. court by providing “its blessing” or perhaps by “asking”
 4   Mosafer to file this action. See Counterclaims, ¶ 8.
 5            Even assuming these allegations were true, Blaxland forecloses a finding of waiver
 6   on this theory. In Blaxland, the court found it dispositive that the U.S. Justice
 7   Department, not Australia, initiated extradition proceedings in a U.S. court, even though
 8   Australia had prompted the Department to do so, and pursued those proceedings “on
 9   behalf of the foreign sovereign.” Blaxland, 323 F.3d at 1207. Here too, the most Broidy
10   has alleged is that a third party has initiated proceedings in U.S. court “at the behest of
11   Qatar,” Counterclaims ¶ 3, without Qatar making any direct request of a U.S. court.
12            Furthermore, there is no “direct connection” between Mosafer’s lawsuit and
13   Broidy’s counterclaims. Siderman, 965 F.2d at 722. The plaintiffs’ theory in Siderman,
14   on which the Ninth Circuit remanded, was that Argentina’s request for U.S. judicial
15   assistance was “part and parcel” of the same acts of persecution that were the basis of the
16   plaintiffs’ claims. Id. Here, Qatar’s supposed use of U.S. courts—Mosafer’s action
17   seeking a remedy for business losses caused by a disinformation campaign concerning
18   Qatar—is not “part and parcel” of any cyber-espionage operation that Broidy alleges
19   Qatar conducted against him. There is no “direct connection” between Mosafer’s suit
20   alleging an anti-Qatar conspiracy in the United States and Broidy’s allegations of a
21   “hack-and-smear” campaign conducted by Qatar against him.8 As described in Section
22   I.A.2.b, there is no overlap in the evidence required to prove these distinct claims. Like
23   in Estate of Marcos, the disconnect between the sovereign’s alleged engagement of a
24   U.S. court, and the claims filed against it, forecloses a finding of waiver.
25

26
     8
27    While Broidy’s claims for business conspiracy and abuse of process are based on a
     different set of allegations, a finding of waiver as to those claims is squarely foreclosed
28   by Ninth Circuit precedent. See supra Section I.B.1.
                                                             23
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 1            To the extent that Broidy contends that Qatar waived immunity through the filing
 2   of “John Doe” lawsuits, that argument similarly fails, because there is no “direct
 3   connection” between those lawsuits and Broidy’s counterclaims. Siderman, 965 F.2d at
 4   722. Broidy references “John Doe” lawsuits in which the Government Communications
 5   Office of Qatar “issue[d] subpoenas to IT service providers and social media companies
 6   regarding websites or internet users who had criticized Qatar.” Counterclaims, ¶ 43.
 7   The only relevance Broidy attaches to these lawsuits is that they identified Ironistic, SCL
 8   Social Limited (and one of its employees), and Project Associates as parties behind
 9   certain websites, information that Qatar allegedly passed to Mosafer, which sued those
10   entities. Id. ¶¶ 43–49.9 But Broidy makes no allegation that the John Doe discovery
11   contributed to Mosafer’s claims against Broidy, and does not contend that he has any
12   relationship with those separate defendants. And even if there were some connection
13   alleged between Broidy and these entities (there is not), the John Doe lawsuits would at
14   most relate to Mosafer’s claims and still not be “part and parcel” of the distinct cyber-
15   espionage scheme Broidy alleges in his counterclaims. Siderman, 965 F.2d at 722.
16            Finally, a finding of implicit waiver would be inappropriate because there is no
17   suggestion that Qatar ever intended to waive immunity. The Ninth Circuit has explained
18   that “courts rarely find that a nation has waived its sovereign immunity without strong
19   evidence that this is what the foreign state intended,” Packsys, S.A. de C.V. v.
20   Exportadora de Sal, S.A. de C.V., 899 F.3d 1081, 1093 (9th Cir. 2018) (emphasis in
21
     9
22     Broidy says that Qatar used these John Doe lawsuits “to identify Ironistic, SCL Social
     Limited, Project Associates, and Atkinson as the parties behind QatarExposed,
23   QatarTruth, BoycottQatarNow, and QatarCrisisNews,” and alleges on information and
     belief that Qatar must have “conveyed that information” to Mosafer because it “does not
24   appear to be available in the public domain.” Counterclaims, ¶ 49. The premise of
     Broidy’s speculation is unfounded. For example, publicly available filings at the
25   International Court of Justice identified Haitham Al Mussawi, an official at the United
     Arab Emirates (“UAE”) Embassy in the United States, in connection with the registration
26   of the domain names qatartruth.com and qatarexposed.com, and the UAE is publicly
     identified as an Ironistic client. See 2019 I.C.J. Pleadings, Qatar v. United Arab
27   Emirates, Vol. VI, Annex 159; Ironistic, Design Rush,
     https://www.designrush.com/agency/profile/ironistic. Mosafer would presumably have
28   been able to connect these dots without Qatar privately conveying any information.
                                                             24
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 1   original) (internal citation omitted), and at least two circuits have held that implicit
 2   waiver requires that the sovereign intended to waive immunity, see Creighton Ltd. v.
 3   State of Qatar, 181 F.3d 118, 122 (D.C. Cir. 1999); In re Tamimi, 176 F.3d 274, 279 (4th
 4   Cir. 1999). This is consistent with the normal definition of “waiver”—the “intentional
 5   relinquishment or abandonment of a known right.” United States v. Olano, 507 U.S. 725,
 6   733 (1993) (emphasis added) (internal citations omitted). Because Broidy does not and
 7   could not allege that Qatar intended to waive its immunity, the waiver exception is
 8   inapplicable for this reason as well.
 9   II.        Broidy Cannot Establish Personal Jurisdiction Over Qatar.
10              The FSIA conditions personal jurisdiction over foreign states on the existence of
11   subject matter jurisdiction plus effective service. 28 U.S.C. § 1330(b).10 “[A] court lacks
12   ‘subject-matter’ and ‘personal’ jurisdiction over a foreign sovereign unless an FSIA
13   exception applies.” See Helmerich & Payne, 137 S. Ct. at 1317 (internal citation
14   omitted). As explained above, no exception to immunity applies, so personal jurisdiction
15   (like subject-matter jurisdiction) is lacking.
16                                                    CONCLUSION
17              For the foregoing reasons, the State of Qatar respectfully requests that the Court
18   dismiss the Counterclaims of Defendants Elliott Broidy, Broidy Capital Management,
19   LLC, and Circinus, LLC against Qatar.
20    Dated: December 15, 2021                             Respectfully submitted,
21                                                         COVINGTON & BURLING LLP
22
                                                           By:           /s/ Mitchell A. Kamin
23                                                                    MITCHELL A. KAMIN
24                                                                    Attorney for Counterclaim-Defendant State
                                                                      of Qatar
25

26
     10
27     Broidy has not yet served the counterclaims on Qatar, pursuant to the FSIA. See 28
     U.S.C. § 1608. Qatar files this Motion in advance of effective service in order to bring
28   these threshold jurisdictional issues expeditiously to the Court.
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